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                 EXHIBIT 17
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                                                                Page 1
               UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                  SAN FRANCISCO DIVISION


             Case No. 3:17-cv-00939-WHA
      _______________________________

      WAYMO LLC,                             )

                  Plaintiff,                 )
                                             )
             v.                              )
                                             )
      UBER TECHNOLOGIES, INC.;               )
      OTTOMOTTO LLC;                         )
      OTTO TRUCKING,                         )

                Defendants.          )
      _______________________________)


       HIGHLY CONFIDENTIAL, ATTORNEYS' EYES ONLY



                VIDEOTAPED DEPOSITION OF
                       JAKE NOCON
             DATE TAKEN: DECEMBER 19, 2017




      REPORTED BY:

      PAUL J. FREDERICKSON, CCR, CSR

      JOB NO. 2771324



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                                                               Page 56
 1       point, but I don't recall them specifically,          10:14:47

 2       anything about them.                                  10:14:52

 3               Q.    Are you familiar with whether any       10:14:57

 4       other surveillance was done of Waymo after this       10:15:01

 5       2017 surveillance that you participated in?           10:15:05

 6               A.    I don't -- no, I don't recall           10:15:11

 7       doing any, any other work regarding Waymo.            10:15:13

 8               Q.    Is this surveillance that you           10:15:17

 9       participated in 2017 the only surveillance you        10:15:19

10       did of Waymo?                                         10:15:22

11               A.    I believe so, yes.                      10:15:24

12               Q.    Did you do any other type of            10:15:27

13       investigation or research or work in connection       10:15:33

14       with Waymo at all?                                    10:15:38

15               A.    In connection with Waymo?     I'm not   10:15:43

16       sure.   I -- I -- I don't recall Waymo                10:15:50

17       specifically.    There was another instance where     10:15:51

18       we looked at a Google employee.     I'm not sure      10:15:56

19       if there was a tie to Waymo or not.                   10:16:00

20               Q.    By the way, let me ask.     Was there   10:16:02

21       a code name given to Waymo at all during your         10:16:04

22       surveillance activity?                                10:16:07

23               A.    There may have been.     I don't        10:16:08

24       recall what it was.                                   10:16:15

25               Q.    Okay.                                   10:16:15
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                                                              Page 113
 1       designations with the specific intent of              11:52:43

 2       preventing the discovery of devices, documents        11:52:45

 3       and communications in anticipated litigation."        11:52:48

 4                     Do you see that?                        11:52:50

 5              A.     Yes, I see that.                        11:52:52

 6              Q.     Did you discuss ephemeral               11:52:55

 7       communications with anyone on your trip to            11:52:57

 8       Pittsburgh?                                           11:53:09

 9              A.     No, not that I recall.                  11:53:09

10              Q.     Did you discuss nonattributable         11:53:09

11       devices with anyone on your trip to Pittsburgh?       11:53:11

12              A.     No, not that I recall.                  11:53:13

13              Q.     Did you discuss the use of the          11:53:15

14       attorney-client privilege designation on your         11:53:16

15       trip with anyone to Pittsburgh?                       11:53:20

16              A.     No, not that I recall.                  11:53:22

17              Q.     Do you recall when it was that --       11:53:23

18       when the actual launch of the Autonomous Group        11:53:37

19       was?                                                  11:53:43

20              A.     Like I mentioned previously, I          11:53:44

21       believe it was September.                             11:53:46

22                     [Sneeze.]                               11:53:49

23                     THE WITNESS:   Bless you.               11:53:49

24              A.     September of 2016.                      11:53:50

25              Q.     Did you receive any written             11:54:05
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                                                              Page 137
 1                     So for purposes of identifying          13:20:18

 2       yourself, to the extent that there were Uber          13:20:23

 3       networks and non-Uber networks, you would --          13:20:27

 4       would categorize this sort of cloud service           13:20:31

 5       device that you used to store your work product       13:20:34

 6       as not an Uber system.                                13:20:37

 7                     Did I understand that correctly?        13:20:41

 8                A.   Yes.   It was misattributable and       13:20:45

 9       not attributable to Uber.                             13:20:46

10              Q.     So how many of these separate           13:20:52

11       cloud storage systems are you aware of being in       13:20:56

12       existence?                                            13:21:01

13              A.     Well, I'm only aware of one I           13:21:05

14       think.                                                13:21:08

15              Q.     Are you aware of any other groups       13:21:08

16       utilizing a cloud storage system that would not       13:21:12

17       be part of the Uber network?                          13:21:17

18              A.     No, I'm not aware.                      13:21:23

19              Q.     So to the extent that there was a       13:21:24

20       cloud storage system that was not part of the         13:21:26

21       Uber network, the only one that you're familiar       13:21:29

22       with is the one that was used by your group at        13:21:31

23       Threat Operations?                                    13:21:35

24              A.     I believe so, yes.                      13:21:37

25              Q.     Let me show you what's been             13:21:37
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                                                               Page 161
 1              I thought I had answered it, you know,         13:47:54

 2              to the best of my ability.                     13:47:57

 3                     The -- the guidance that we were        13:47:59

 4              given, the approvals that we were given,       13:48:02

 5              you know, was obtained through --              13:48:05

 6              through legal.                                 13:48:06

 7       BY MR. LYONS:                                         13:48:07

 8              Q.     Again, that doesn't -- that             13:48:07

 9       doesn't answer my question or solve the problem       13:48:08

10       that we're having.    I mean, you seem to be          13:48:11

11       equating any communication that you had with a        13:48:13

12       lawyer as being a privileged communication even       13:48:16

13       when you had just told them, I was going to go        13:48:19

14       to the bathroom.   That doesn't necessarily           13:48:22

15       mean --                                               13:48:25

16              A.     No, that's not accurate.                13:48:25

17                     MR. UMHOFER:   Objection.   This is     13:48:27

18              getting argumentative.   Can we figure         13:48:28

19              out a way to tone this down?                   13:48:30

20              A.     That -- that's not accurate.     I do   13:48:32

21       not -- based on my understanding of, you know,        13:48:33

22       when I was instructed on the use of                   13:48:39

23       attorney-client privilege, not all                    13:48:43

24       communications with a lawyer are necessarily          13:48:45

25       privileged.                                           13:48:48
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                                                              Page 162
 1              Q.     And you received that instruction       13:48:48

 2       from whom?                                            13:48:50

 3              A.     Craig Clark.                            13:48:51

 4              Q.     Okay.                                   13:48:52

 5                     So Craig Clark made it clear to         13:48:52

 6       you that not all communications with lawyers          13:48:54

 7       are privileged?                                       13:48:56

 8                     MS. CHANG:    Objection to the          13:48:57

 9              extent it calls for a privileged               13:48:58

10              communication.                                 13:49:00

11                     I caution the witness not to            13:49:00

12              disclose the substance of any privileged       13:49:02

13              communication.   Mr. Clark, as you know,       13:49:05

14              is a lawyer, so you need to be very            13:49:06

15              careful in terms of the communications         13:49:09

16              that you had with Mr. Clark.                   13:49:11

17     BY MR. LYONS:                                           13:49:14

18              Q.     All right.                              13:49:14

19                     Let's -- why don't we get in some       13:49:14

20       exhibits here.     We'll do it that way.              13:49:17

21                     MR. LYONS:   Let's mark this next       13:49:51

22              in order.                                      13:49:52

23                     [Deposition Exhibit 9528 marked         13:49:54

24              for identification.]                           13:49:56

25     BY MR. LYONS:                                           13:49:56
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                                                              Page 164
 1       to do that?                                           13:50:47

 2                     MS. CHANG:     Objection to the         13:50:48

 3              extent it calls for privileged                 13:50:49

 4              communication.                                 13:50:50

 5                     I caution the witness not to            13:50:51

 6              disclose the substance of any privileged       13:50:52

 7              communication.                                 13:50:55

 8              A.     I'm sorry, can you repeat the           13:51:01

 9       question?                                             13:51:04

10                     MR. LYONS:   Let's have the             13:51:05

11              question read back.                            13:51:06

12                     [Discussion off the record.]            13:51:16

13                     MR. LYONS:   Here.   I'll do it.        13:51:17

14     BY MR. LYONS:                                           13:51:17

15              Q.     Did you ever have a conversation        13:51:18

16       with anyone at any point in time who told you         13:51:20

17       that you should add someone from legal to all         13:51:24

18       emails?                                               13:51:27

19                     MS. CHANG:   Objection to the           13:51:29

20              extent it calls for privileged                 13:51:29

21              communication.                                 13:51:31

22                     I caution the witness not to            13:51:31

23              disclose the substance of any privileged       13:51:32

24              communication.                                 13:51:35

25              A.     No, I never had a conversation          13:51:39
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                                                              Page 165
 1       where somebody told me to add an attorney to          13:51:40

 2       all emails.                                           13:51:42

 3              Q.     Did they ever tell you to               13:51:42

 4       add -- did you ever have a conversation with          13:51:44

 5       anyone who told you that you should add               13:51:46

 6       attorney-client privilege to any email?      And      13:51:49

 7       that's a yes-or-no question.                          13:51:51

 8                     MS. CHANG:   Same objection.            13:51:52

 9     BY MR. LYONS:                                           13:51:52

10              Q.     And just to be clear, yes or no?        13:51:56

11       This does not call for privileged                     13:51:57

12       communication.                                        13:52:00

13                     Did you have a conversation with        13:52:00

14       anyone at any time who told you to add                13:52:02

15       attorney-client privilege to any email?               13:52:05

16                     MS. CHANG:   Same caution.              13:52:07

17              A.     I can't recall.                         13:52:13

18              Q.     Did you ever have a conversation        13:52:14

19       with anyone at any time who ever told you to          13:52:15

20       add the term "attorney-client privilege" to any       13:52:18

21       document?                                             13:52:21

22                     MS. CHANG:   Same -- same caution.      13:52:24

23              A.     I can't recall any specific             13:52:32

24       instances.                                            13:52:34

25              Q.     You know as a former law                13:52:34
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                                                              Page 166
 1        enforcement officer that you should not              13:52:37

 2        identify documents as attorney-client privilege      13:52:38

 3        that are not, in fact, attorney-client               13:52:40

 4        privileged communications, do you?                   13:52:43

 5                A.     No, I don't recall receiving that     13:52:46

 6        training as a law enforcement officer.               13:52:48

 7                Q.     Let me just -- so that the record     13:52:49

 8        is clear, is it your testimony that you are not      13:52:52

 9        aware that it is inappropriate to designate          13:52:54

10        documents as attorney-client privilege that you      13:52:57

11        know to not be attorney-client privilege?            13:52:59

12                      MS. CHANG:   Objection, misstates      13:53:03

13                prior testimony, vague and ambiguous,        13:53:04

14                calls for a legal conclusion.                13:53:06

15                A.    That wasn't your question.    You      13:53:10

16        asked me as a law enforcement officer if I           13:53:11

17        knew.   I don't recall getting that training as      13:53:14

18        a law enforcement officer.    But during my time     13:53:16

19        at Uber, I do recall having -- getting a             13:53:18

20        presentation from Craig Clark where it did talk      13:53:22

21        about not marking documents inappropriately.         13:53:25

22                Q.    Is it your understanding that --       13:53:32

23        well, let me ask it this way.    If I understood     13:53:34

24        you correctly, you do not have a recollection        13:53:39

25        of anyone ever telling you to add                    13:53:41
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                                                               Page 167
 1        attorney-client privilege to any document.     Did   13:53:44

 2        I understand that testimony correctly?               13:53:46

 3                       MR. UMHOFER:   Objection, misstates   13:53:49

 4              prior testimony.                               13:53:50

 5                       MS. CHANG:   Join in the objection.   13:53:50

 6              A.       I don't recall what I said            13:53:58

 7        previously, but I can't remember any specific        13:54:00

 8        instances where somebody directed me to add          13:54:04

 9        that to a document.                                  13:54:06

10              Q.      I'm looking at the -- the realtime     13:54:08

11        testimony.    It says:                               13:54:10

12                      "Did you ever have a conversation      13:54:11

13        with anyone at any time who ever told you to         13:54:13

14        add the term 'attorney-client privilege' to any      13:54:16

15        document?"                                           13:54:18

16                      And your answer was:                   13:54:19

17                      "I can't recall any specific           13:54:19

18        instances."                                          13:54:21

19                      Is that a truthful response to the     13:54:22

20        question?                                            13:54:24

21              A.      Yes.                                   13:54:24

22              Q.      Okay.                                  13:54:24

23                      So as you sit here right now, you      13:54:26

24        have no recollection of being told to do that?       13:54:28

25              A.      In a specific instance, no, I          13:54:38
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                                                              Page 168
 1        can't -- I can't recall.                             13:54:39

 2              Q.       Do you have a general recollection    13:54:41

 3        of ever being told that?                             13:54:42

 4              A.       I have a general recollection of      13:54:43

 5        being told that if on projects that were being       13:54:45

 6        done, you know, at -- at a lawyer's direction        13:54:49

 7        and under their guidance that, yes, that it          13:54:51

 8        should be marked.                                    13:54:54

 9              Q.       And is it -- was it your              13:54:54

10        understanding that everything that you did was       13:54:55

11        at a lawyer's direction?                             13:55:00

12              A.       That is not accurate.                 13:55:01

13              Q.       What wasn't at a lawyer's             13:55:02

14        direction?   What tasks did you perform that you     13:55:04

15        believed were not at a lawyer's direction in         13:55:06

16        the work that you did at Uber?                       13:55:08

17              A.       I -- there's a lot of things.         13:55:10

18              Q.       I got some time.                      13:55:15

19              A.       General, you know, administrative     13:55:20

20        emails.    Working on things that, you know, were    13:55:22

21        outside of our -- our tasks as far as                13:55:26

22        collections.   You know, to say that I, you          13:55:29

23        know, marked everything attorney-client              13:55:35

24        privilege carte blanche is just inaccurate.          13:55:37

25              Q.       Well, that's not what I'm saying      13:55:40
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                                                              Page 170
 1        get a sense of when you would claim something        13:56:32

 2        was at the direction of a lawyer and when it         13:56:37

 3        wasn't.    Because it sounds like you said you       13:56:39

 4        had to get approval for all                          13:56:43

 5        information-gathering projects you worked on.        13:56:45

 6              A.      That is correct.                       13:56:48

 7              Q.      So if you had to get approval from     13:56:49

 8        a lawyer for all information-gathering               13:56:51

 9        projects, how did you in your mind make a            13:56:53

10        decision as to when a document or memo or email      13:56:55

11        that you wrote was not going to be designated        13:56:58

12        as attorney-client privileged?     Because you've    13:57:01

13        already gotten the direction from a lawyer.          13:57:04

14              A.      Right.                                 13:57:07

15              Q.      So if you got the -- the direction     13:57:07

16        from a lawyer and you got the lawyer's approval      13:57:09

17        to perform some investigation collection or          13:57:12

18        evidence collection or information collection,       13:57:17

19        was it your practice then that everything that       13:57:21

20        you did as a result of that approval was marked      13:57:23

21        privileged?                                          13:57:26

22              A.      No.                                    13:57:26

23              Q.      So when wasn't it?   And what          13:57:27

24        activities would you perform, investigative          13:57:30

25        collection, intelligence collection or any           13:57:33
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                                                               Page 172
 1        correct?                                             13:58:41

 2              A.      Yes.    For the documents that are     13:58:46

 3        generated for that specific project, yes.            13:58:47

 4              Q.      And all -- is it your testimony        13:58:49

 5        that all documents that were generated as a          13:58:51

 6        result of that project were privileged?              13:58:54

 7              A.      I don't believe that I marked          13:59:01

 8        every single document as privileged.                 13:59:02

 9              Q.      That wasn't my question.    I don't    13:59:04

10        care whether you marked it or not.                   13:59:05

11              A.      Yeah.                                  13:59:07

12              Q.      My question is whether you are         13:59:08

13        taking the position that every time you did          13:59:10

14        something or generated a document after having       13:59:12

15        received an approval from a lawyer to perform a      13:59:14

16        particular investigative task, that that was         13:59:18

17        privileged.                                          13:59:20

18                      MR. UMHOFER:    Objection, calls for   13:59:20

19              a legal conclusion.                            13:59:22

20              A.      I don't know.   I don't know if --     13:59:25

21        I guess I just don't understand the question.        13:59:26

22              Q.      Okay.                                  13:59:28

23                      Well, I'll -- let's -- let's ask       13:59:28

24        it differently.                                      13:59:30

25                      Is it your testimony that all          13:59:34
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                                                              Page 178
 1              Q.        And whether you recall sending       14:21:04

 2        them or not, would it have been your practice,       14:21:05

 3        after getting approval from a lawyer to conduct      14:21:08

 4        surveillance, to mark email communications           14:21:11

 5        about that surveillance as attorney-client           14:21:14

 6        privileged?     Would that have been your            14:21:17

 7        practice?                                            14:21:19

 8              A.        If it was about logistics between    14:21:23

 9        me and my team members, probably not, no.            14:21:25

10              Q.      Why not?                               14:21:28

11              A.      Because --                             14:21:29

12              Q.      Isn't logistics part of the            14:21:30

13        direction by your lawyer to conduct the              14:21:32

14        surveillance?    Wouldn't that have been part of     14:21:33

15        the task that you received approval for?             14:21:36

16                      MR. UMHOFER:   Objection, compound.    14:21:39

17              A.      I wouldn't have viewed it that way     14:21:41

18        if I was emailing my colleague to say, you           14:21:43

19        know, "Meet me at the airport.    I get in at        14:21:46

20        whatever time."    I -- I don't see that.   You      14:21:49

21        know, if I had to email Craig because I had a        14:21:51

22        question, you know, about the particular             14:21:54

23        operation or was looking for guidance on             14:21:57

24        something, then, yes, that would be -- that          14:21:59

25        would have been marked.                              14:22:02
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                                                               Page 179
 1               Q.     So that was -- but that                14:22:03

 2        you -- that was a conversation with Craig.     So    14:22:04

 3        he was a lawyer, wasn't he?                          14:22:05

 4               A.     My understanding he still is.          14:22:09

 5               Q.     So a conversation with your lawyer     14:22:11

 6        specifically about getting legal advice, I           14:22:13

 7        don't think anyone is arguing about whether          14:22:16

 8        that's privileged or not.                            14:22:18

 9               A.     Correct.   But you asked me whether    14:22:18

10        or not I marked specific emails.    And if I was     14:22:20

11        communicating back and forth with Craig, then        14:22:22

12        yes.   But if I was communicating to work on         14:22:25

13        logistics with, you know, members of my team,        14:22:28

14        then no, I don't recall marking those.    I don't    14:22:31

15        recall marking those anything privileged.            14:22:35

16               Q.     Well, you can -- it would not have     14:22:37

17        been your expectation that those would, in           14:22:39

18        fact, be privileged?                                 14:22:41

19               A.     I --                                   14:22:42

20                      MR. UMHOFER:    Objection, calls for   14:22:43

21               a legal conclusion.                           14:22:45

22               A.     I don't know.   I'm not a lawyer.      14:22:45

23               Q.     But wouldn't -- regardless of          14:22:47

24        whether you're a lawyer, it would not have been      14:22:48

25        your expectation that communications about           14:22:51
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                                                               Page 181
 1        communications with your coworkers?                  14:23:42

 2              A.       Sure.   Yes.                          14:23:43

 3              Q.       Now, looking at Mr. Kalanick's        14:23:45

 4        email here, though, he makes a                       14:23:47

 5        slightly different -- takes a slightly               14:23:50

 6        different approach.     He says:                     14:23:52

 7                       "Add someone from legal to all of     14:23:53

 8        these emails and presentations and add language      14:23:56

 9        about attorney-client privilege to all               14:23:57

10        documents."                                          14:23:59

11                       Do you see that?                      14:24:00

12              A.       Sure.   Yes, I do.                    14:24:01

13              Q.       Now, did you ever have a              14:24:09

14        conversation with anyone who suggested that you      14:24:11

15        should add a lawyer to an email so that you          14:24:14

16        could claim that the email was privileged?           14:24:18

17                       MR. UMHOFER:   Objection, asked and   14:24:21

18              answered.                                      14:24:21

19              A.       I don't recall that.                  14:24:23

20              Q.       Did you ever receive that             14:24:24

21        instruction?                                         14:24:25

22                       MR. UMHOFER:   Same objection.        14:24:26

23              A.       No, I do not recall that.             14:24:29

24              Q.       Did you think it was appropriate      14:24:31

25        to add someone from legal for the purpose of         14:24:32
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                                                              Page 182
 1        claiming privilege?                                  14:24:36

 2              A.      In what instance?                      14:24:38

 3              Q.      Did you ever have an instance          14:24:41

 4        where you were told that if you added someone        14:24:43

 5        to legal, you could claim privilege to that          14:24:48

 6        communication even if you were not seeking           14:24:50

 7        legal advice from that person?                       14:24:52

 8              A.      I don't recall that, no.               14:24:55

 9              Q.      Did you know that it was improper      14:24:59

10        to add someone from legal to an email for the        14:25:00

11        sole purpose of claiming privilege when you          14:25:03

12        were not seeking legal advice for that person?       14:25:05

13              A.      Yeah.   That was part of Craig's       14:25:08

14        presentation, yes.                                   14:25:10

15              Q.      So looking at Mr. Kalanick's email     14:25:11

16        here, you would agree that if the purpose of         14:25:13

17        the email was not to seek legal advice, that         14:25:16

18        would be inappropriate to add someone from           14:25:20

19        legal for the purpose of claiming                    14:25:22

20        attorney-client privilege?                           14:25:25

21                      MR. UMHOFER:   Objection, calls for    14:25:26

22              a legal conclusion.                            14:25:28

23                      MS. CHANG:   Join in the objection.    14:25:28

24              A.      I don't know what Travis --            14:25:31

25        Mr. Kalanick was intending with this email, and      14:25:35
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                                                              Page 197
 1        a communication with him in his capacity as a        14:39:08

 2        lawyer, that that communication could be marked      14:39:12

 3        attorney-client privilege; correct?                  14:39:15

 4              A.        I'm sorry.   Can you repeat your     14:39:18

 5        question?                                            14:39:19

 6              Q.        You understood that if you had a     14:39:19

 7        communication with him in his capacity as a          14:39:21

 8        lawyer, that that communication would be marked      14:39:23

 9        attorney-client privileged?                          14:39:25

10              A.      Yes.    Based on the information       14:39:30

11        contained in -- that he presented in this, that      14:39:31

12        if we were seeking legal advice or legal             14:39:34

13        guidance, that the -- yes, that would be             14:39:37

14        privileged.   Whether or not that we had marked      14:39:40

15        a document for that, I -- I don't know.              14:39:42

16              Q.      Okay.                                  14:39:42

17                      So you understood -- just so that      14:39:45

18        I'm -- I'm clear, you understood that by             14:39:48

19        marking something attorney-client privilege,         14:39:51

20        that it could be protected from disclosure.          14:39:54

21                      Did you understand that?               14:39:59

22              A.      Yes.    That was part of the           14:40:01

23        presentation.                                        14:40:02

24              Q.      Okay.                                  14:40:02

25                      And certainly as it relates to         14:40:03
Case 3:17-cv-00939-WHA Document 2501-14 Filed 01/19/18 Page 20 of 31


                                                              Page 198
 1        communications with Mr. Clark, you understood        14:40:05

 2        that if communications with him were marked as       14:40:07

 3        attorney-client privileged, they could be            14:40:12

 4        protected from disclosure?                           14:40:13

 5              A.      If they were seeking legal advice      14:40:15

 6        or guidance, yes.                                    14:40:17

 7              Q.      Okay.                                  14:40:18

 8                      And so to the extent that              14:40:21

 9        Mr. Clark had communications with people             14:40:23

10        seeking legal advice or legal guidance, as long      14:40:25

11        as the communication was marked attorney-client      14:40:30

12        privilege, it would be subject from                  14:40:32

13        disclosure -- excuse me, it would be protected       14:40:35

14        from disclosure.                                     14:40:37

15                      You understood that?                   14:40:38

16              A.      So I don't -- I'm not sure.    I'm     14:40:42

17        not sure I'm understanding your question             14:40:47

18        properly.                                            14:40:48

19              Q.      Well, I guess maybe I'm -- maybe       14:40:50

20        I'm -- I'm trying to understand if -- if             14:40:51

21        Mr. Clark's legal advice and guidance was            14:40:56

22        protected from disclosure, what was the basis        14:41:01

23        for his preference to have telephone                 14:41:03

24        conversations?   Because the written                 14:41:05

25        communications would also be protected from          14:41:08
Case 3:17-cv-00939-WHA Document 2501-14 Filed 01/19/18 Page 21 of 31


                                                              Page 208
 1        issues at the company.                               14:52:57

 2               Q.     Did Mr. Clark ever coach you on        14:53:33

 3        how to use the attorney-client privilege to          14:53:36

 4        ensure that sensitive intelligence collection        14:53:39

 5        activities would not surface in litigation?          14:53:43

 6               A.     No, I don't recall that.               14:53:50

 7               Q.     Are you familiar with something        14:53:51

 8        called the Lawyer Dog meme?                          14:54:07

 9               A.     Yes, from the presentation that        14:54:11

10        you showed previously.                               14:54:13

11               Q.     Do you recall ever receiving any       14:54:14

12        email or other document containing the Lawyer        14:54:16

13        Dog meme?                                            14:54:20

14               A.     I don't know if I received it or       14:54:24

15        not.                                                 14:54:26

16               Q.     Did Mr. Clark provide any handouts     14:54:29

17        when he gave this presentation?                      14:54:31

18               A.     I don't recall that.                   14:54:36

19               Q.     Did you ever come across a             14:54:37

20        document at Uber that was marked "Draft" even        14:54:52

21        though you believed it was a final version?          14:54:55

22               A.     I -- no, I'm not sure.   I don't       14:55:11

23        think so.                                            14:55:11

24               Q.     This email says if you -- uses the     14:55:11

25        phrase "if you prefer not to write/retain            14:55:34
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                                                              Page 231
 1        requesting devices; correct?                         15:23:29

 2              A.      That's correct.                        15:23:31

 3              Q.      And with regard to the information     15:23:32

 4        in the cloud, did you give them that                 15:23:34

 5        information as well?                                 15:23:36

 6              A.      No, I didn't have it.                  15:23:37

 7              Q.      Okay.                                  15:23:39

 8                      Did you tell them that it existed?     15:23:39

 9              A.      I don't recall what I told them.       15:23:44

10                      MS. CHANG:   Counsel, when you're      15:23:46

11              at a good stopping point, we've been           15:23:52

12              going over an hour.                            15:23:54

13                      MR. LYONS:   Okay.   Sure.   Let's     15:23:55

14              take a break.                                  15:23:58

15                      THE VIDEOGRAPHER:    It's 3:23.        15:23:59

16              We're going off the record.                    15:24:02

17                      [Recess at 3:23 p.m.]                  15:24:03

18                      [Resuming at 3:44 p.m.]                15:34:42

19                      THE VIDEOGRAPHER:    We are back on    15:44:48

20              the record, and it's 3:44.                     15:44:50

21                   EXAMINATION CONTINUING                    15:44:53

22     BY MR. LYONS:                                           15:44:53

23              Q.      So we were talking about Ric           15:44:54

24        Jacobs earlier.   Did he ever express to you any     15:45:00

25        concern about the use of ephemeral                   15:45:06
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                                                              Page 232
 1        communications or nonattributable devices?           15:45:09

 2                A.    No, I don't recall having              15:45:15

 3        conversations with him about that.                   15:45:16

 4                Q.    Did he ever express any concern to     15:45:18

 5        you about the use of improper privilege              15:45:20

 6        designations?                                        15:45:25

 7                A.    I do not recall him expressing         15:45:26

 8        that to me.                                          15:45:29

 9                Q.    Did he ever express to you any         15:45:29

10        concerns about the use of "Draft" designations       15:45:32

11        or documents designated as "Draft"?                  15:45:35

12                A.    No, I don't recall that.               15:45:40

13                Q.    Did he ever express any concern        15:45:42

14        about Uber engaging in theft of trade secrets?       15:45:44

15                A.    No.                                    15:45:44

16                Q.    Did he ever express any concern        15:45:50

17        about Uber trying to evade its obligations to        15:45:53

18        produce documents in discovery?                      15:45:55

19                A.    No, I don't recall him expressing      15:46:01

20        that.                                                15:46:03

21                Q.    Did he ever express any concern        15:46:07

22        about people hiring -- excuse me, about Uber         15:46:08

23        hiring people to support the ATG group who are       15:46:11

24        kept off of ATG's books?                             15:46:16

25                A.    I don't recall hearing him say         15:46:20
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                                                               Page 235
 1        that at Uber?                                        15:50:45

 2              A.        No.                                  15:50:45

 3              Q.        And you have no knowledge as to      15:50:46

 4        whether that allegation is true or not?              15:50:47

 5              A.        I don't know.                        15:50:49

 6              Q.        All right.   I'm going to show you   15:50:50

 7        what's been previously mark as 9075.                 15:51:10

 8                        [Document passed to the witness.]    15:51:13

 9        BY MR. LYONS:                                        15:51:36

10              Q.      So there's an email at the bottom      15:51:36

11        here from Mat Henley to                  dated       15:51:40

12        June 21 of this year.                                15:51:44

13                      Do you recall ever seeing this         15:51:48

14        email before?                                        15:51:50

15              A.      Yes, sir.                              15:51:50

16              Q.      When was the first time you saw        15:51:51

17        this email?                                          15:51:53

18              A.      I believe that I was -- yeah, I        15:51:54

19        was cc'd on it when it went out.                     15:51:58

20              Q.      Did you have any involvement in        15:52:01

21        drafting the email?                                  15:52:03

22              A.      Yes, sir.                              15:52:04

23              Q.      And what was your involvement in       15:52:05

24        drafting the email?                                  15:52:07

25              A.      I believe that we saw a rough          15:52:13
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                                                                 Page 236
 1        draft of it.                                           15:52:15

 2              Q.        Who drafted the email originally?      15:52:16

 3              A.        I don't know.                          15:52:20

 4              Q.        Okay.                                  15:52:20

 5                        But you -- you saw a rough draft.      15:52:21

 6        How did you see the rough draft?                       15:52:23

 7              A.        I don't remember.                      15:52:25

 8              Q.        Did you provide any comments           15:52:27

 9        regarding the rough draft?                             15:52:29

10              A.       I don't recall.                         15:52:31

11              Q.       Did you talk to anyone about the        15:52:35

12        rough draft?                                           15:52:39

13              A.       I -- likely.     I don't remember any   15:52:45

14        of the specific conversations.                         15:52:48

15              Q.       You didn't draft the email              15:52:49

16        yourself -- excuse me, you didn't draft                15:52:51

17        the -- the rough version of this yourself?             15:52:53

18              A.       No, sir.                                15:52:55

19              Q.       So if you turn the page and you         15:52:56

20        look at the bottom of the email, it appears            15:53:08

21        that Mr. Henley has signed this on behalf of           15:53:10

22        Craig Clark, Nick Gicinto, yourself and Ed             15:53:15

23        Russo; right?                                          15:53:19

24              A.       Yes, sir.                               15:53:20

25              Q.       Do you recall any discussions           15:53:21
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                                                              Page 237
 1        about Mr. Henley signing on behalf of you as         15:53:22

 2        individuals?                                         15:53:29

 3              A.       Yes, I was aware that he was going    15:53:30

 4        to sign on my behalf.                                15:53:32

 5              Q.       Okay.                                 15:53:33

 6                       And what did you understand the       15:53:34

 7        purpose of the email to be?                          15:53:35

 8




                                                               15:54:29
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                                                              Page 241
 1




                                                               15:58:46
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1                         C E R T I F I C A T E
2
3                            I, PAUL J. FREDERICKSON, CA
4         Certified Shorthand Reporter No. 13164 and
          WA Certified Court Reporter No. 2419, do
5         hereby certify:
                             That prior to being examined,
6         the witness named in the foregoing
7         deposition was by me duly sworn or affirmed
8         to testify to the truth, the whole truth and
          nothing but the truth;
9                            That said deposition was taken
10        down by me in shorthand at the time and
11        place therein named, and thereafter reduced
12        to print by means of computer-aided
          transcription; and the same is a true,
13        correct and complete transcript of said
14        proceedings.
15                           I further certify that I am not
16        interested in the outcome of the action.
17                           Witness my hand this 20th day
18        of December 2017.
19
20
21
22                        <%signature%>
23              PAUL J. FREDERICKSON, CCR, CSR
24                 WA CCR 2419         CA CSR 13164
25            Expiration date:             March 31, 2018

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